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           IN THE UNITED STATES DISTRICT COURT FOR THE

                          DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
                Plaintiff,    )                  8:08CR194
                              )
          v.                  )
                              )
PERCY E. GRANT,               )              MEMORANDUM OPINION
                              )
                Defendant.    )
______________________________)


           This matter is before the Court on defendant Percy

Grant’s (hereinafter “defendant”) motion to vacate, set aside, or

correct sentence because of allegations of ineffective assistance

of counsel pursuant to 28 U.S.C. § 2255 (Filing No. 130) and the

government’s motion to dismiss defendant’s motion under § 2255

(Filing No. 133) and motion for ruling on motion to dismiss, to

extend time for filing an answer and for order directing former

defense counsel to provide affidavits (Filing No. 135).

           Defendant makes six claims of ineffective assistance of

counsel: (1) counsel was ineffective for failing to file an

appeal after being instructed to do so; (2) counsel was

ineffective during the plea bargaining process; (3) counsel

operated under a conflict of interest; (4) counsel was

ineffective when he allowed defendant to plead to a violation of

18 U.S.C. § 924(c); (5) counsel was ineffective when he allowed

defendant to plead to a violation of 18 U.S.C. § 922(g)(1); and
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(6) counsel was ineffective for allowing defendant to stipulate

to an enhancement under 12 U.S.C. § 851.

           The government moves to dismiss these claims as

untimely, noting that defendant’s motion was filed more than a

year -- almost two years -- after defendant’s judgment became

final and § 2255's one-year limitations period began to run.                 The

government also argues that defendant has not shown diligent

pursuit of his claims, as required to allow equitable tolling of

§ 2255's one-year statute of limitations period.

           Upon reviewing the motions, briefs, and relevant law,

the Court finds defendant’s motion should be denied, the

government’s motion to dismiss should be granted, and the

government’s motion for ruling on motion to dismiss, to extend

time for filing an answer and for order directing former defense

counsel to provide affidavits should be denied as moot.

           I. BACKGROUND

           On May 21, 2008, defendant was indicted by the federal

Grand Jury sitting in the District of Nebraska for controlled

substance offenses.     Count I charged that from at least as early

as April 2007, up to and including May 20, 2008, defendant and

co-defendant knowingly and intentionally conspired together with

others to distribute and possess with intent to distribute 50

grams or more of cocaine base, in violation of 21 U.S.C. § 846.

Count II charged defendant with possession and discharge of a


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firearm in furtherance of a drug crime in violation of 18 U.S.C.

§ 924(c).    Count III charged defendant with being a felon in

possession of a firearm in violation of 18 U.S.C. § 922(g)(1).

            On September 23, 2008, defendant appeared before this

Court with counsel Joseph L. Howard (“Howard”) and knowingly and

voluntarily pled guilty to all three counts without a plea

agreement (Filing No. 136, pg. 6).        Howard subsequently withdrew

as counsel for defendant.

            On January 16, 2009, defendant appeared before this

Court with counsel Wesley Dodge (“Dodge”) and was sentenced to a

term of 240 months imprisonment as to Count I, a term of 120

months imprisonment as to Count II, and 120 months as to Count

III.   Count II was ordered to run consecutively to Count I, and

the sentence of imprisonment in Count III was to run concurrently

to the sentence imposed for Count I and II.           After this Court

sentenced defendant, it notified him that he had the right to

appeal, and that his notice of appeal had to be filed with the

clerk of this Court within 10 days of the date the judgment was

entered (Filing No. 129, pg. 14).

            Judgment was entered on January 22, 2009, and no direct

appeal was taken despite defendant’s alleged request for Dodge to

do so.   Thus, on February 5, 2009, defendant’s time to appeal his

judgment expired and his § 2255 one-year statute of limitations




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began to run.   See Fed. R. App. P. 4(b)(1)(A), 26(a).             Defendant

further alleges:

                Receiving no information concerning
                his appeal, [he] wrote and called
                his attorney[s] Dodge and Howard
                inquiring about his appeal. After
                receiving a letter from Howard
                [dated July 7, 2010] (Filing No.
                130, Exhibit A), he wrote Dodge
                inquiring about his appeal.
                [Defendant] wrote the district
                court for [an] updated copy of his
                docket sheet. [This request was
                received on March 26, 2010]. After
                inspection of the docket sheet[,
                he] notic[ed] that no appeal had
                been filed.

(Filing No. 130, pg. 4-5).      On December 10, 2010, defendant

claims Dodge informed him that no appeal had been filed.

Defendant then filed his § 2255 motion on January 13, 2011.

           Despite the evidence that defendant viewed his docket

sheet soon after March 26, 2010, defendant claims the earliest

date he could have discovered that an appeal had not been filed

in this case was July 7, 2010, when he was informed by Howard

that Howard did not file an appeal.         Defendant does not provide

this Court with any circumstances as to why he did not view his

docket sheet or contact his counsel in 2009 to inquire about his

appeal, or why he did not file this motion in March of 2010 or

July of 2010 -- when he respectively viewed his docket sheet and

received correspondence from Howard.         Defendant only alleges that

he did not contact his counsel because (1) he was transferred to


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numerous federal facilities after his judgment became final; (2)

he assumed counsel was working on his appeal, and (3) Dodge

informed him he would be filing a motion after amendments to the

“crack” laws were enacted.      (Defendant does not notify this Court

as to when this alleged conversation with Dodge took place).

Furthermore, defendant has not provided this Court with any

reason as to why he did not file a § 2255 motion regarding his

other allegations (besides counsel’s failure to file an appeal)

contained in his current § 2255 motion within one year of his

judgment becoming final.

           II. STANDARD OF REVIEW

           Prisoners seeking to modify, vacate or correct their

federal sentences through a § 2255 motion face a one-year statute

of limitations.     Anjulo-Lopez v. United States, 541 F.3d 814, 817

(8th Cir. 2008) (citations omitted).         The one-year statute of

limitations for a motion pursuant to § 2255 begins to run from

the latest of:

                  (1) The date on which the judgment
                  of conviction becomes final; . . .
                  (4) The date on which the facts
                  supporting the claim or claims
                  presented could have been
                  discovered through the exercise of
                  due diligence.

Section 2255(f).    For purposes of § 2255's one-year statute of

limitations, a judgment of conviction becomes final when the time

for filing an appeal has expired.         Anjulo-Lopez, 541 F.3d at n.2.


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“The statute of limitations contained in § 2255[, however] is

subject to equitable tolling.”         United States v. Martin, 408 F.3d

1089, 1092 (8th Cir. 2005).         “Generally, a litigant seeking

equitable tolling bears the burden of establishing two elements:

(1) that he has been pursuing his rights diligently, and (2) that

some extraordinary circumstance stood in his way.”               Walker v.

Norris, 436 F.3d 1026, 1032 (8th Cir. 2006).

           III. DISCUSSION

           Defendant does not dispute that his § 2255 motion is

untimely; however defendant has failed to provide this Court with

any evidence that he was (1) pursuing his rights diligently as to

the inquiry of his appeal status from February 2009 to February

2010 or that (2) some extraordinary circumstance stood in his

way, preventing him from discovering before February 2010 that an

appeal had not been filed in his case.           Id.   To show diligence

and extraordinary circumstances, defendant provides (1) he was

transferred to numerous federal facilities after his judgment

became final; (2) he assumed counsel was working on his appeal;

and (3) Dodge informed him he would be filing a motion after

amendments to the “crack” law were enacted, although defendant

does not notify this Court as to when this alleged conversation

with Dodge took place.

           The Eighth Circuit has held that “[such] allegations

are not indicative of a reasonably diligent quest for


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information.”   Anjulo-Lopez, 541 F.3d at 818.           Defendant has not

explained why he was unable to communicate with anyone about his

appeal while in transit, nor described any thwarted attempts to

check on the status of his appeal that occurred during the period

of February 2009 to February 2010.         Id. at 818-19.       Moreover,

defendant admitted that he waited over a year to contact his

counsel regarding his appeal.        See Id. at 819.      “Given that

‘[the] statute's clear policy calls for promptness,’

[defendant’s] efforts [fall] far short of reasonable diligence.

Id. (citations omitted).

           As to defendant’s remaining claims for ineffective

assistance of counsel, defendant has not provided this Court with

any reason as to why he did not file a timely § 2255 motion

regarding such when defendant had all the necessary information

to do so at the time judgment was entered in his case.               Thus, the

limitations period provided in § 2255(f)(4) is unavailable to

defendant.   A separate order will be entered in accordance with

this memorandum opinion.

           DATED this 24th day of February, 2011.

                                    BY THE COURT:

                                    /s/ Lyle E. Strom
                                    ____________________________
                                    LYLE E. STROM, Senior Judge
                                    United States District Court




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